                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA


   vs.                                             CASE NO. 09-173-035 (PG)


CARLOS TORRES PAGAN


     SUPPLEMENTAL MOTION: NOTIFYING THE FILING OF NEW FEDERAL
    CRIMINAL INDICTMENT AND REQUESTING THAT SAME BE TAKEN INTO
         CONSIDERATION AS PART OF THE ORDER TO SHOW CAUSE

TO THE HONORABLE JUAN PEREZ-GIMENEZ, SENIOR
UNITED STATES DISTRICT JUDGE
DISTRICT OF PUERTO RICO

         COMES NOW, ANGEL L. MEAUX-PEREDA, SENIOR U.S. PROBATION

OFFICER of this Court, informing as follows:

         On July 5, 2018, this officer filed a motion notifying violations of supervised release

and requesting an arrest warrant [Dkt. 3980]. On July 9, 2018, Your Honor granted our

request [Dkt. 3981].

         Mr. Torres-Pagan has violated additional violations of his supervised release term:

         1)    MANDATORY CONDITION- “THE DEFENDANT SHALL NOT

COMMIT ANOTHER FEDERAL, STATE OR LOCAL CRIME.”

         2)   STANDARD CONDITION 9- “THE DEFENDANT SHALL NOT

ASSOCIATE WITH ANY PERSONS ENGAGED IN CRIMINAL ACTIVITY AND

SHALL NOT ASSOCIATE WITH ANY PERSON CONVICTED OF A FELONY,

UNLESS GRANTED PERMISSION TO DO SO BY THE PROBATION OFFICER”.
       3)    MANDATORY CONDITION- “THE DEFENDANT SHALL NOT

POSSESS A FIREARM, AMMUNITION, DESTRUCTIVE DEVICE, OR ANY

OTHER DANGEROUS WEAPON.”

       On July 3, 2018, Mr. Torres-Pagan was charged for violation to Title 18 U.S.C.

Section 922(g)(1)(a): Prohibited Person in Possession of Firearm: Convicted Felon under

criminal number 18-432-002 (CCC).

       I declare under penalty of perjury that the foregoing is true and correct.

       WHEREFORE, in view of the aforementioned, it is respectfully requested that the

above-mentioned violations be included as part of the show cause hearing.

       In San Juan, Puerto Rico, this 12th day of July 2018.

                                               RESPECTFULLY SUBMITTED,


                                               EUSTAQUIO BABILONIA, CHIEF
                                               U.S. PROBATION OFFICER


                                               S/ Angel L. Meaux Pereda
                                               Angel L. Meaux-Pereda
                                               U.S. Probation Officer
                                               Federal Office Building Room 400
                                               150 Chardon Avenue
                                               San Juan, P.R. 00918-1741
                                               Tel. 787-281-1525
                                               Fax 787-766-5945
                                               E-mail: angel_meaux@prp.uscourts.gov
                              CERTIFICATE OF SERVICE

       I HEREBY certify that on July 12, 2018, I electronically filed the foregoing motion

with the Clerk of the Court using the CM/ECF system, and notification of such filling will

be sent to the parties involved via email.

       In San Juan, Puerto Rico, this 12th day of July 2018.



                                              EUSTAQUIO BABILONIA, CHIEF
                                              U.S. PROBATION OFFICER


                                              S/ Angel L. Meaux Pereda
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